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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                 )
                                          )
                  v.                      )              No. 21-cr-123 (PLF)
                                          )
VITALI GOSSJANKOWSKI,                     )
                                          )
            Defendant                     )
__________________________________________)

                                          ORDER

       Upon consideration of the defendant’s Unopposed Motion for Leave to Late File

Suppression Motion filed herein, and finding good cause shown, it is hereby ORDERED that the

motion is GRANTED.



DATE: ___________________



                                         ________________________________
                                         PAUL L. FRIEDMAN
                                         UNITED STATES DISTRICT JUDGE
